Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 1 of 27

Exhibit “1”

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 2 of 27

]N THE DISTRICT COURT OF TULSA COUNTY

STATE OF OKLAHOMA DISTRICT COURT
Gerry G. 'I`hames, _ ) JUN 19 2913
Beneficiary of Roth Account Equity Trust )
Com any d.b.a. Sterlin Trust Custodism,
p , g § sALL\' H%‘§%§L‘LMWGLYH)SYQK
P:aintifr, ) ST'“E
` )
vs. ) Case No. CJ-2011-3624
x )
Brookside 'I`itle & Escrow, Inc., , )
]Jebbie J. Stockton, dib/a )
Brookside Title Escrow, lnc. )
) Pnst-Judgment Garnishment
and ) `
}
Markel Evanston Insurance Company, )
Policy No. MG-331136, )
)
Defendmlts. )

 

APPLICA'I`ION FOR HEARING TO DETERIV[ETE [NSURANCE COVERAGE

 

COMES NOW the Plaintiff, Gerry G. Thames, by said through his attorney of record,
Glennella P. Doss, and in support of this Applicafz'on for Hearz`ng to Determz`ne Irz,s‘urance
Covemge. Would show the Com't as follows:

l. On Februa:ry 20, 2013, the Honorable Re‘oecc'd B. Nightingale granted judgment

in the instant matter in the amount cf $120,000.00 against Defendant Brool<side

Title & Escrow, Inc., Tulsa County District Cc)uri; Case No. CJ-2011-3624, (See

Ex.lz£bit A).

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 3 of 27

2. On May 24, 2013, Plaintiff commenced garnishment proceedings against
Garnishee Markel Evanston lnsurance Company, through Whonl Defenclants
Brookside and Debbie Stockton, dib/a Brookside ’l`itle Escrow, Inc., had an
insurance policy which provided coverage for En‘ors and Ornissions of A,gent,

(See Exhibit B, Cert{ficate of Covemge; and Exhibit C, Policy; both atfached).
3. Defendants failed to advise and cr issue Plaintiff With closing protection letter.

4. On June 10, 2013, Garnishee Markel Evanston hisnrance Cornpany filed its

Amwer /A]Yidczvit, stating claims are not covered by the policy cf insurance

5. Plaintiff now requests that a hearing be set for purpose of determining insurance
Policy No. MG-831136, En'ors and Ornjssions coverage of Brool<side Title and

Escrow, Inc., the claims upon which Der`eudants have confessed

WHEREFORE, premises considered, Plaintift` respectfully requests that the Court
schedule a hearing in the instant matter at the earliest convenient date for the purpose ot`
determining Markel Evanston Insurance Coinpany's Policy No. MG-B?)] 136, coverage of the

claims upon Whieh Plaintiff prevailed

Respecti"ully submitted,

neMs\

/Glennella P. Doss OBA No. 243'7
Doss Law Ofiices
Lausing Business Park
720 East Marshall
ri`ulsa, OK 74106
T - 918.582.0888
F - 913.592.0822
Attomeyfor Plaintij”Gerry G. Thames

2

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 4 of 27

CERT[FICATE OF l\'IAILINGe»l

,.¢

This is to certify that on the f QM , 2013, l caused a

true, correct and exact copy ofthe above and foregoing document to be Served via U.S. mail With
postage prepaid, electronic email, auditor facsimile transmission to:

 

Tirn N. Cheelc, Esquire
Cheek Law Firm, PLLC

31 1 North Harvey Avenue
Oklahoma City, OK 73102

Artoraeyfor Markel Evan.s'ron Insur‘ance Company, Garnz‘

  

ge Qj\ 55

j

_ /Glen‘r:i'ellal?. Doss /

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 5 of 27

IN THE DISTRICT COURT OF TULSA COUNTY

 

STATE OF OKLAHOMA
Gerry G. Thames, )
Beuet`iciary of Roth Acccunt F‘_,quity Trust )
Company, d.b.a. Steriing Trust Custcdian, )
)
Plaintiff, )
) .
vs. } Case No. CJ-2f]li-362=l-
) §udge Rebecca Brett Nightingaie
Brookside Title & Escrow, Inc., )
Brook.ride Title & Trnst, Inc., and )
Brookside Titlc & Escrow, Ltd., )
nfl Oklahorna ‘Corporations, and )
Debbie J. Stccktcn, individual, and )
First Ainerican Title Insurance Company, and )
First Arcericaa 'l`itie and Trust Ccrapany, and )
First Araerican Titie and Abstract Coinpany, ) D_ISTRICT COURT
) § §
Dcfendants. )
FEB 25 2013
SALLY HDWE SMITH. COURT BLEF'\K
IUDGMENT STATE OF OKU\. TUL-SA GI]UNTY

 

 

Before the Court is the O]j”er to Coafess Jacz’gment filed by Defendants Broolcside 'l`itle dc
Escrow, inc., Broolcside Titie & Trust, lnc., Broolcside Title and Escrow, Ltd., and Debra J.
Stocl<toa, afk/a Debbie _J. Stocl=.ton (“Stoci<ton"), jointly and severally ("Defendants“) and the
Accspfcnce ofConfessz'oa ofJnc{gmear filed by Plaintiff Crerry G. Thames on February 19, 201'2..
T'ce Plaintiff and Defendants now seek an entry of judgment against the De'fendants pursuant to
l'l O.S. 1101.

The Court, having reviewed the pleadings and the relevant legal authorities, and being

fully advised, finds that judgment should be entered against the Det`endants as confessed and

accepted

EXH|BIT

   

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 6 of 27

Plaintiff is granted judgment in amount of $30,555,81, as confessed by Det`endants,
Broolcside Titie & Escrow, Inc., Brcol<side Titte & Trust, inc., Brcokside Tir,le and Escrow, Ltd.,
and Debra J. Stoclcton, a/lda Deb’cie J. Stoc‘aton, and as accepted by Plaintiff Gerry G. Thames,
together with amounts of $89,444.19, judgment rendered in U.S. Northern District Banlcruptcy

Court Case No. 12-11881-`1\/£; Adversary proceeding No. l?,-OiO?l~Vl, and filed herein on
01/17/2013.

so onnnsnn this £_;:5 0 day cf Febmary, acts

BY THE COURT:

diseases Br-ett Nigh'tinnaia
seasonsL ssnrr Nronrn~tos;t,e
ames or run ntsrsrcr const

Approved for Entry:

Glennetla P. Dcss, Esquire, OBA No, 2437
Doss haw Offlces

Lansing Business Parlc

720 East Marshall

fi`ulsa, OK 74106

T - 918.532.0888

F - 918.592.0822

Attomeyfor Piainti}j"Gerry G. Thames

l\)

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 7 of 27

CERTIF[CATE OF MAILING
l \ b _L‘ '-
'l"ms is to certify that on theG;;zi/day of Februarv , 2013, 1 caused a true, correct

and exact copy of the above and foregoing document to be served via U.S. mail ivith postage
prepaid, electronic emaii, and/or facsimile transmission to:

Michael D. Parl<s, OBA #6904 7
10 E. Washington, Suite 102

P. O. Bo:< 3220

McAlester, OK 74502-3220

i\/latk `W. Kuehi_ing, Esquire

' Kuehling Se:<sou, P.C.
1601 NW E:<pressway, Suite 650
Olclahoma City, OK 73118-1460

Dx§`

Glenn/ella P. Doss /

1, idly Hs.ua Smiiv, tenn dark, in misc fount~;, Okk}huma,
holds canty time ita inaction isn ma cnnnc acid et
s uf in tcmmmrt » = mt se cit vs opens an rand
isiia terre dol!<"st)itics n . la favors Gk[uhmu, ms

 

Case 4:13-Cv-OO42_5-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 8 of 27

145443 ' Denhle Swd¢wn dba amoksrdacnle Trtls and Es=mw lnr:.. carmen of |murqu-(pag¢ 1 mr 1) civ/umw 10;11:33 AM

A£’§'Y cERnFchTE oF Llnsu.m' incumch °"""““"°m

711 EIZD'ID

'["Hl.‘! ¢iRTlF!¢ATE 15 l-‘J=BUEB ¢LS A MAT'TER OF lNFQR§MT|QH QHL? AH§ EGNFERS 310 IIQHT$ ‘llFON TH! GERT¥Fl¢A'¢'E HQLDER. THIB
CERT!FII.°.A'?.*. DDI.& NO"I' AFHRMATN!L.Y GR MEEA'YW!L`?' A,|HEND‘ EKTENB GR AL?ER THE ¢¢WFAQE AFFORDED BY THI F'OL]C'|ES
azLow._nM ammann as msuRANcs ones wm coume A comer axe-mem THE \ssum€; msun:n[s}, Auwomzzo
REPREB'.-.N'I`MIVE GR PRDDUQE'.R. AND THE EERTEFECIJ`¥ HC\LDEF. '
IMPGRTMT: lt the clr\|‘l¥:lb holder ls an ¢-\EEIT§GHAL. INSE'§E, ghi '

_ . ` potl=y{!as) must be nndumari. if SUBRDUATlDN le WNVED, aunhtc'. w

the mm md conditioned the pollay. adam poi]e;qs mm an .

unmm holdm“ nw d web gadmm"u'}’ l'“'\‘k' "¢q endorsement A mumant on lms ecr£lmm dues no¢¢un!or mm m the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

rmue:n M"-T
3 fm __-
1§§|“&!:;§=1“§§&§1:1\.®!1¢ 115 law 355‘171* TF:G“¢_H,M use-allad;
Al|en. TX 16013 _goon 531
sumrall-
Mum~- ' llomioAI-'M~@ moses_ ` now
bahblo iman dba Bmcks!dc'.filn T‘.!l¢ ind iam |m:. “us‘ ill ": kim ' fm 1 m
7335 Sauih Lawfs Avc. STE. 590 M“m 3’
Tulna, DK. 741le gomez o =
_'§WE§F_!L!
JHEBLL‘» ,
ER F :
comm cERnF!cAY'=‘ NumoER;
‘W

 

 

- REWS|DN` NUMB ‘

Tl-|ls ls To GERTEFY THAT THE FOLIGIES OF lNSUR,kNC‘-E LlST’§D BELGW HAVE EEEN lSSUED TQ THE |HEUR"E'§ NAMEE> ABDVE FC\R THE P$LICY PER|C\U
:wchTEn. HGT\MHSTANEWG AN¥ ReoulREMEnT. TERM on common oF A \ uME z '
csame gm gu lawn oh MM FERTHN. THE [NsuRAN NY ¢ON'RAGT OR DTH~IR B¢¢ NT ‘MTH R $FE¢T 'l‘d WHIGH ms

CE AFFD E B`f 'l'l-|E PG EC ` "2
Exc:Lus\QN$ AMD CGNE\£TIGNS DF auto PoL!B:ES. Llurrrrs arnolqu MA_T mg §§ HCIES uscnt HEREJN ls goal T m ALL mt l RMS`

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m § __rg___REou\:Eo BY mo oLAIME.
LI _ mean msumme w ‘ souc~mume.n wc`r,aq lmcnno'~m¥ m ‘~"*"3
s_:usm_ mm men occurs mm s
mHMR¢|¢'\LG=NWL'-f¢\aim‘l' gwmm_ 5
l ammann o¢cun mm m ppg mo pnm; s
_.... .. annum a am umw s
_ oxan mnnm*r= t
oam.\maum mm APFLIES .=§R: PRGl:u€.‘,‘l'$~ ;NPDP)\EG 8
FRC.\¢ m_`
Loc i
imm santiago smsz -.mn* 1
-- "'lw ‘“m . ‘;;o:u: n:ilnv ;F s
-~' mm"‘°'“"°s 7 l nmu umw -W;:“|. d -
sal-icm .\u'ron l Mr a ann 1
"“" . FH|:F’EBTY DAMAGE
__ mnzo,\u'r=s nw adam 5
__ racn»mo mae s
3
_ '-'M'-l*£ __ mun Em:H commerce s ` _
3553 W mun-wig mcnst l
_" ama - n
RE'I'S dr .'|
WUKEF~'& WWI¢\T]EN ' 3 'Ml
mm cnmi-mm NE wl __I_E~_l€l.l\¥'sl on
AN'{ .*|\mllfd.l! n ERIB€EGUT
qF k axqu E m k ¢.1. mn umw x
column LL. msaas¢.. anewme s
lfzm¢ dam li
o emma A'n uaw Ez.. W_-Four:z uun s
jt .\‘I!'|'ii“lh"€{l '.lilil}i¥ (EINF& df|domlm} ‘¢Er\ ?H!ZM.U I»‘f}i'\‘.=“ cm f AI!RUPN h¥.md'm 1 ¥{.='I'UU.M

 

 

 

 

 

 

mmp-rm oFoF€.'.!mGHS iLo¢:n]lGN$rYE.‘€l¢k&z mm action lm. addisan simms 3ava n’rmw ipm I¢ mulde

 

 

 

 

 

 

 

 

   

GERT\F!¢:ATE HGLDII.R CWCN
insured copy SHouLn nw op me ABovE. neacmae:l murillo n almosqu BE;=<:P.E
'rHi i>{?\u'nou anTE manson N€.'n'lc'& wu.L m-: or-;LNERGE II'£
A':ocgmucs 'mm~l ms Pouc‘! F!wmlohm,
l annum magazinesan __l - pp
§ gin ,_. \‘..¢g.¢.:_-._....__.______.~-
1
o mas-acme mann -:oFe.=o EXHlBlT
AcGRD 25 lannams)

T?cs ACORD name and lugo nn reqln:rerzd marks m‘ ACDRD

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 9 of 27

F<JliCY No. MG-83i136

EVANSTON INSURANCE CouiPANY i;:i:"i?,: iiiii

 

DE‘:CLARATIONS -‘ SERVECE ANU TECHNECAL PROFESSIONS PROFESSEONAL LlABiLlTY
lNSi.iRANCE POLECY

Clairns Made and Reported Coverage: The coverage aiiorde.d by this policy is limited to liability for only
those Ciaims that are first made against the insured during the Po|ioy Feriocl or the E>ctended Reporiing
Period, if oxercised, and reported to the Company during the Polioy Pen'od or the E>ciencied Fieporting

Potio€i. if €XEPCi$ed. or within sixty (60) days after the expiration of the F'olic:y Period or the Extended
Reporting Pen`od, if exercisedl

i\lotice: T'nis is a duty to defend policy. Additionail\j, ihis policy contains provisions that reduce tile Limits of
Lisbiliiy stated in the poile by the costs of legal defense end permit legal defense costs to be applied
against the deductiblel unless the policy is amended by endorsement Please reed the policy carefullyl

i. NAMED |NSURED'. BROOKSlDE TiTLE ESCROW, INC.

2. EUS[NESS ADDR ESS:

7335 S. LEW[S, #300
TL|LSI-\, OK 74135

3. POi_lCY PERlOD: Frorn duly ?, 2010 to Juty 7, 2011
12:01 A.ll.fi. Standerd Tirne al address of insured stated above

4. PRoFEssio\\ini; seR\/ices; Tiile services rees item 1 or Eic iseo}
5. Llliil|'l'$ C\F LlABli_i'I’Y;
A. Eacii 'Cieim; $ i‘ .'OO'G,'GO'G
B. Polioy Aggregate: 3 1,000,000
6 DEDUCTiELE:
Eeci\ C|airn: 5 5.000
?. ETROACTNE DA'i‘E: duly ?. 2010
8. RATE: Flat
9. PREllilluM FOR POLlCY PERlDD;
lliiinirnum 3 3,000.00
Deposit 3 3,000.00

iiJ. PREM|UN| FOR EKTENDED REPORTING FERIOD: 100% for '| 2 monihs; 150% for 24 months; or
200% for 36 months

ii. ENDORSEMENTS ATTACHED AT POLIC‘( il\fCEPTlClN;

l. ElC 4115-01 25% ivlinirnum Earned Premiurn Endorsen'ieni
2. EIC 4360-02 Amendaton; Endorsemeni Tiile and Esorow Operations

Psge i

 

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 10 of 27

12. NCJTiCES‘.

POtiCy i\io. MG-BB‘H$S

Notices required to tie provided to the Corripsny under this policy s'nall be addressed to:

CLAlM NOT|CES:

Ciaims Service Center

MARKEL SERV|GE, iNCORPORAiED
Ten Pari<wey Norih

Deeriieldl illinois 60015

Fa)c (84':') 572-6338
E-mait: newoialms@msri<eieoip.eom
Piione: {347) 572-5000; {388) 502~3200

Polic\; Fon'n: lirlG-ZGODG 03{08
Dec: ill!G~iODOO 03108
Daie Prinied‘. Seplemller 21, 2010

Pege 2

AL.L OTHER NOTLCES:

iviARKEL NORTHEAST
310 'riiniway 35 Soutii
Red Banii, NJ Oi'TDl

 

Fex: (366) 730-102’!
Piione: (BUO} 243-6869 {732] 224-0500

'jl'
,"g,)¢"£"“‘t"""/é 515-gewin v

" nuihoii_zed Representati\ie

Case 4:13-cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 11 of 27

wants-vs assigned antecech
Risl< iiianagement Resources For Speoiiied Professions

Welcome to tilari<el’s Designed Protection® leading edge Risit trianagerrient Resources.

Ti'ie following risk management resources are available exclusively to our policyholders
at our Website Wo_markeishand_corn at no additionai cost

HOW TO ClUiCKL`i’ ACCESS RlSK MAN AGEMENT RESOURCES'.

Steo ‘l. Go onto our website, \Mv\iv.mari<elsiiand.com.

Steg 2. ln the left coiumn of the markeis‘nand.com home pagel elicit on for

Policyhoiders and then clicl< on Ftisi< ivianaoement Rescurces to get the togin
screen

 

Sieo 3. in the box below ina Terrns for nccess near the bottom of the Login screen
enter your current policy number and clici< on "Agree and Submit to Access
Risi< iiianagement Resources"_ You wilt be directed to Risi< Nlanagement
Resources related to your policy. Your poiicy number is lle-831136_

ii you need technical assistance during the icg in i;iroceesl call (866) 932»2433_

Available Risi< i\:ianagement Resources include:

- Designed i°rotei::tion"m Risi< ntsnagement Teiepioone l-lotiine for Professional
Service Providers

Tbis confidential telephone bot|ine is staffed by a panel of risk management
experts that are available to answer general risi< management questions

Designed Protection® for Professiona| Services Firms - i_eading Edge
Strateqies for Efieciive Risi< Management

T`nis Guide provides information about principles of effective risk management

including client satisfaction billing practices and prompt and effective action in
the event of an error or omission

. 'i`op 10 Tips for Liability i_oss Avoidance for Proiessionei Sewices
Providers
A concise_ bullet point summary of 10 liability risk avoidance strategies

Please check our website regularly as additional resources are added throughout ti'ie year.

03{09

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 12 of 27

§§ EVANSTON INSURANCE COMPANY

 

 

 

End cream ant
Named tnsured:_ Attached to and forming
BROOKSlDE Tl 1 LE ESCROW. tNC. a part of Poticy No.; MG-BSti$B

Endorsement No.'. 1
Effeciive Date of Endorsement: July ?. 2010

25% MINIMUM EAR.NED PREMI"UM ENDORSEM:ENT

[n consideration of the premium paid, it is hereby understood and agreed that in the event that
this policy is cancelled by the Named lnsured, the policy premium is subject to a minimum
earned premium of twenty-five percent {25%) o€ the total premium

 

Al| other provisions of the policy shall apply and remain unchanged

?

authorized Represen‘rative

 

/
ElC 4i15-Ol 2103

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 13 of 27

.. ' nnme _==-\.. .:

all stNstoN imbalance contain
: film l

 

 

Endorsement

Named lnsured: Attached to and forming

BROOKSIDE TiTLE ESCROW, |NC. a past of Po|icy No.: MG-Sstiito
Endorsemerit t~to.: 2

Effective Date of Endorsament: duly 7l 2010

AMENDATORY ENDORSEMENT FOR TITLE AND ESCROW OPERATIONS

tn consideration of` the premium paid, it is hereby understood and agreed that the policy is
amended as follows:

i. item 4_ of fhc Dcclarations, Professional Scrvices, is deleted and replaced with thc
following

4_ Prnfcssionai Sei'vices: 'i`itle Abstracter/Scarcher, Titic Ir\surance Agent,

'G.

-‘§lC 4360-02 12108

Rendcring Opinions of Title Bassd Upon Abstrscts Preparcd by the insured,
Escrow Agcnt Pursuant to Written Escrow lnstructions Acceptcd in Writing by
the Insurcd, Closing Agcnt and Notary Pubiic 'Serviccs

_, Sectiori T‘nc E:<clnsions G., O. and X. are dcietcd and replaced with tire following

based upon or arising out of` tire insolvencyl reci=sivcrsiiipl bankruptcy, liquidation
or financial inability to pay, of` any bani<, savings and loan, banking firm, financial
institution1 lender, mortgage company, registered representative or broker/dealer
of` securities or commodities insurance companyl reinsurer‘ risk retention group
or captive (or any other self-insurance plan or trust by Wltatsocvcr name},

contractor, property dcvelopcr, or real estate company1 or any other individuall
organization or other pany',

based upon or arising out of` any conversion misappropriation commingling
dcf`aication, tbcfl, disappearance1 insufficiency in fits amount of` escrow fi_mds,
monies, monetary proceeds1 funds or property, or any other assets, securities
negotiable instruments or any other thing ot` value Tbis exclusion shall apply
irrespective of` which individual, party, or organization actually or allegedly
committed or caused in Wholc or part the conversion rnisapptopriationx
commingling1 defalcation tlncf`tb disappearance insufficiency in arnount',

based upon or arising out of acts and/or services as an insurance agentl insurance
brokerl investment adviser, Financial Planner, lawyer, accour‘.tantd registered
representative or broken‘dcaler of` securities or commodities mortgage banksr,
mortgage brokerj investment bankcr, construction adviscr, architect_ property
developer or real estate agent or broken or

Page l

Case 4:13-cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 14 of 27

§§ evanston Insuaancs conrans

 

 

Endorsernent
3. Section '[`he Eaclusions is amended by the addition ofthe following exclusionsl
Z. based upon or arising out ot` disbursement ot` construction funds or any escrow

open For a period ot over six (6) months;

AA. based upon or arising out of` any transaction involving a loan funded in whole or
in part with the lnstsred‘s own hinds or the funds of` any organization controlled

by, owned by, or commonly owned or affiliated with the lnsured; or any servicing
of loans by the Insured;

BB. based upon or arising out of` notarized certification or acknowledgment of a
signature without the physical appearance at the time of` said notarization before
such notary public as insured hereunder, ot` the person who is or claims to be the
person signing said instrument; or

CC. based upon or arising out of the Real Estate Settlement Procedures Act (RESPA)
or any similar state or local legislation

 

r\.l| other provisions of the poiicy shall apply and remain unchanged

/,"
/Y_.:\)z;'r/Wg '!,;?_/.{r"f_@. L,_ g
/ Authorizeci Reprasen‘catiyo

'EiC 4360~02 111/03 P‘age 2

Case 4:13-cv-00425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 15 of 27

Seryice and Technicai i=roiessions Proi-essionai i_iabiiity insurance
Policy

THIS IS A GLAEMS MADE ANO REPORTED F'OLICY. i'-`;LE.’-\SE READ lT CAREFU|_.L.Y.

in consideration of the premium paid, the undertaking of the Named insured to pay the Deductibte as
described herein and in the amount stated in the Deolarations in reliance upon the statements in the
application attached hereto and made a part hereof and the underwriting information submitted on behalf

of the insured and subject to the terms conditions and limitations of this policy. the Cornpany and the
insured agree as foiiows:

'i`i~iE iNSURED

The unqualified word ”lnsured“, either in the singular or piural. means:

A. the Named insured stated in item i. of the Deciarations;

B. any pastor current partner\ ofticer, director or sharehoider of the Named insured stated in item i. of

the _Deciarations solely while acting on behalf of the Namec‘ insured and within the scope of their
duties as such;

any past or current employeez including a leased ernpir:iyr=,e1 of the i\iamed insured stated in item t.

of the Deciarations solely while acting on behalf of the Named insured and within the scope of their
duties as such;

if the 1\lamed insured stated in item i. of the Deciarations is a limited liability company. any past or
current manager thereof, solely while acting on behalf of the Named insured and within the scope
of their duties as manager of such limited liability company and any past or current member. solely

while acting On behalf of the Named insured and within the scope of their duties as a member of
such limited liability company;

_ the heirs, executors administrators ass1gns and legal representatives of each insured above in the
event of death incapacity or bankruptcy of such insured but only while acting within the scope of
their duties as such on behalf of the l\lamed insured or the Namecl insured s estate.

iNSURiNG AGREEMENT

A. ina Company shall pay on behalf of the insured ali sums in excess of the Deductibie amount stated

in item 6. of the Declarations, which the insured shell become legally obligated to pay as Damages
as a result of a C|aim nrst made against the insured during the Poiicy Period or during the Extended
Reporiing Pen'od. if exercised and reported to the Compaoy during the Poiicy Feriod or the
Extended Reporting l_°eriodl if exercisedl or within sixty (SG) days after the expiration date of the
Policy Period or E>dended Reporting Pen'odl if exercised

by reason of:
1_ a Wrongfui Act; or
2_ a Personal injury;

in the performance of Professionai Seryices rendered or that should have been rendered by the

insured or by any person or organization forwhoee Wrongiul rest or Personai injury the insured is
legaiiy responsibie,

pro\ridedt

Ci) the Wrongfui Act or Personal injury happens during the Poiicy Period or on or after the
Reiroacliye Da'te stated in item 7. of the Deciarations and before the end ot the Poiic\ Pen'od;

and

(ii) prior to the effective date of this policy ihs insured had no knowledge ci such Wrongr’ui .¢‘~.cl or
Personal lniury or any fact, circurristancel situation or incident which may have led a
reasonable person in the insureds position to csnoiude that a Ciaim was likely

woodson aaron

‘Page l

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 16 of 27

SUPPLEM ENTARY PAYMEN`TS

A. Discip|inery Proceeding: Lipon satisfactory written proof of paymentl the Company shall reimburse
the Named lnsured, up to t'nrenty~nve thousand dollars ($25,000) per Policy Pericd including the
Extendeci Fteponing Period, if exercisedl for ali reasonable and necessary legal fees and iegai
expenses incurred and paid by the Named insured in response to a Discipiinary Proceeding first
initiated during the Poiicy Period, or the E)rtendert Repoiting Peiiod. ii exercised

provided:

1. the Wrongr'ui Act giving rise to the Disciplinary Proceeding happens during the Policy Period or on

or alter the Retroactive Date stated in item ‘i. of the Declarations and before the end ot the Policy
Period; and

prior to the elfectlve date of this policy the insured had no knowledge of such act or any tact,
circumstance situation or incident which would lead a reasonable person in the insureds position
to conclude that a Diacipiinary Proceeding was likely

The insured shall give the Comparry written notice as stated in item 12_ of the Deciarations as soon as
practicable of any Disciplinary Proceeding nrst initiated against the insured during the Policy Period or
the Extended Reporting Period. if exercised in any event, such Discipiinary Proceeding must be
reported to Mar'.<el Service, incorporated Ten Parkway i\iorth, Deerfield, lllinois, 60015. on behalf of

the Cornpany, within sixty (BG) days after the end ot the Poiicy Period or the Extended Reportino
Period, ii exercised

No mimburseroent pursuant to this Section shall he made for the Named insureds payment of any

taxes; criminal or civil iines. penalties or sanctions; registration or licensing fees; or any monetary
jl.rr:igr'rtentl award or settlement of any kind.

Reimtiursement to the planted insured pursuant to this Section shall be in addition to the |_imits ot
Liabiiity stated in ltern 5. of the Declarations and shall not 'oe subject to the Deduciib|e.

DEFlN'iTiON'S
A. Claim means the insureds receipt of:
1.

a written demand for money damages or remedial Professional Servicas involving this policy; or

2. the service ot suit or institution of arbitration proceedings against the lnsured;

provided, however, Ciaim shall not include Disciplinary Proceeding_

Claim Expenses means reasonable and necessary amounts incurred by the Company, or by the
insured with the prior written consent ot the Cornpany. in the defense oi that portion of any Ciaim for
which coverage is afforded under this poiic\l including costs of investigation[ court costs. costs of
bonds to release attachments and similar bonds, but without any obligation of the Con'ipany to apply
for or furnish any such bonds, and costs or' appeais; providedl howeverl that Claim Expenses shall
not include: (i) saiary, wages, overheadl or beneni expenses of or associated with employees or
officials of the Narned insured or employees or ofhcials of the Company; or {2) salaryl wages,
administration1 overhead, benth expenses or charges ot any li<ind attributable to any in~house
counsel or captive out~oi-house counsel ior the i\lamed insured or the Company.

Damages means the monetary portion oi any iudgrnent, award or settlement; i_orovideclf however,
Darnages shall not include: (l] punitive or exemplary damages or multiplied portions of damages in
excess of actual damages including trebling of damages; (2) taxes, criminal or civil rines, or
attorneysl fees of a party other than an insured or other penalties imposed 'oy iaw; (3) sanctions; (4)
matters which are uninsura'oie under the law pursuant to which this policy shall he construed; or (5)
the returnl wilhdrawai, reduction or restitution or payment or' any iees_ profits or charges ior
services or consideration andior any expenses paid to the insured for services or goods

Disciplinary Proceeding means the insureds receipt or' any proceeding by a United States of
America domiciled regulatory booy, disciplinary board or governmental agencyl any ot which has

r\rIG£OOGD 03!`08 i`-"’age 2

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 17 of 27

:Tl

l'vl.

the authority to investigate charges of professional misconduct in the performance of Proiessional
Services.

Electronic Communications System means any wiredl wireless. radio, electromagnetic phoio~
optical or photo-electronic facility for the transmission of electronic communications; any electronic

data processing systems or related electronic equipment for the storage of such communications
and any computer.

Finariciei Planner means an investment professional who helps individuals or entities set and
achieve their financial goals through investments tax planning, asset allocationl risk management_

retirement planning and estate pianning` assisting in increasing net worth in furtherance of the
individua ’s or entity's financial objectivesl

Gross Revenues means the gross amount of compensation received by the blamed insured for
Professional Services during the F'olicy Period.

Personal injury means:

1_ libei, slander or defamation;

2. invasion or infringement of the right of privacy or publicity',

3. malicious prosecution, abuse of process. false arrest or false imprisonmentl or
4_ humiliation or infliction of emotional distress;

committed in the performance of Protessionai Services.

Poliutants mean any solidl liquid, gaseous, fuel. lubricantl thermai, acoustic. electrical. or magnetic
irritant or contaminant. inciuding but not limited to smoi<a. vapor, sootl fumes fibersl rediation, acid,

ailraiis\ petroleums, chemicals or waste Waste includes medical waste and ali other marshals to be
disposed ofl recycledl stored, reconditionedl or reclaimed

Professi'onal Sarvicas means those services stated in item 4. of the Declarations rendered for
others for a fee.

Policy Period means the period from the inception date of this policy to the policy expiration date
stated in item 3, of the Deciarations, or the effective date of any earlier cancellation or tenhination.

Linauthorized Access means a breach of the insureds security measures, systems or proceduresl
or any intentional violation. interception, or use or misuse of the insured‘s E|ectronic
Communicalions Systam, whether or not for profit or gain, by any personl without the permissionr
knowledge or ratification of the insured Unauthorized hccess also inoludes'.

i_ access to the insured's Eiecironic Cornrnunications System that is with the insureds

permission where such permission is the result of fraud or deception;

use of the insureds Eiactronic Corrimunications System by a party authorized by the insured to
use such system, who does so for an unauthorized purpose;

the introduction of programs into the insureds Electronic Cornrnunications Bystem which
contain fraudulent or destructive inslnictions or code; and

the threat to initiate or activate programs which contain fraudulent or destructive instructions or
code into the insured‘s Eiectronic Communicaiions System for the purpose of extorting money
or other valuable consideration from the insured

Wrongfui Act means any negligent aci, error or omission in Pror'essionai Services.

THE EXCLUSEONE

This policy does not apply to any Ciairn:

n_ based upon or arising out of the liability of others assumed by the insured under any contractor
agreement; providedl however. this exclusion shall not apply to liability an insured would have in
iiriG-ZGOOG crime

Page 3

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 18 of 27

the absence of the contract or agreement by reason of a Wrongful Act of the insured in the
performance ol' Professional Services;

based upon or arising out of a Wrorigful Act or Personal injury committed by an organization, or a

principai, partnerl officer, director. trustee, member. manager or employee of an organization not
stated in item i. of the Deciarations;

C. made against the insured:

i. by any person or organization or its subrogee, assigneel contractor, subcontractort or parent
organization, subsidiary division or affiliated organization which was or is operated, managed,
owned or otherwise controlled, whether directly or indirectiyl or in whole or iri part, by;

(a) any insured or parent organization or any subsidiary, division or affiliated organization;

(b) any principai, partner. officer, director, memberl manager, employee or shareholder of
the Named insured;

by any principal, partner, ofhcer, directory memberl manager, employee or shareholder of an
insured or any subrogee or assignee of such person; or

3. by or on behalf of any person or organization included in the dehnition of lnsureci;

D. based upon or arising out oi:

1. any Obllgation of the insured under any workers compensationl unemployment compensation or

disability benefits law or under any similar law; or

the insured‘s activities as a fiduciary under the Empioyee Retirement income Security Act of
1974. as amended, or similar provisions ot any iederal, state oriocal statute or common law;

based upon or ansing out of wrongful termination or other employment related practices;

based upon or arising out oi'. (i} infringement or inducement of infringement of copyrightl pateni,
trademarlr, service marin trade name4 or trade secret; or (2) unfair competition based upon
infringement of r;.oi:)yn'<_;ihtl ,patent, trademark. service meritl trade name or trade secret;

based upon or arising out of the insolvency receivershipl bankruptcyl liquidation or unancial inability
to pay, of any bani<, savings and loan, banking firml registered representative or brokeridealer of
securities or commoditiesl insurance companyl reinsurerl risk retention group or captive (or any
other self-insurance plan or trust by whatsoever name);

based upon or arising out of any warranties or guaranteesl expressl implied or otherwisel or any
cost estimates;

|. based upon, arising out of, or in any way involving

l. conduct of the insured or at the lrisured‘s direction that is lntentional, willfull dishonestl fraudulent

or that constitutes a willful violation of any statute or regulation'. providedl however. this exclusion
shall not apply lo'. la] the strictly vicarious liability of any insured for the intentionall willful,
dishonest or fraudulent conduct of another insured or for the conduct cf another insured that
constitutes a willful violation of any statute cr regulation; or {b) Glaim E>tpenses incurred until an

allegation is adjudicated through a finding by a trier-of-fact to be intentionall willfull dishonest or
frauduient or a willful violation of any statute or regulation; or

the gaining by any insured of any proht_ remuneration or advantage to which such insured was
riot legally entitled; provided however, this exclusion shall riot apply to C|aim Expenses
incurred until an allegation is adjudicated through a finding by a lrier-ofsiact to be any profit,
remuneration or advantage to which such insured was not legally entitled,' providedl that any
fact pertaining to any insured shall not be imputed to any other insured under this policy for the
purpose of determining the applicability of this e;<ciusion;

J. based uponl arising out of, or iri any way involving any lillrongful Act or Personal injury or any fact,

circumstance or situation that has bean the subject of any notice given prior to the Policy Penod

i\!lG-Z‘.)GGG 03103 Page 4

Case 4:13-cv-OO425-P.]C Document 3-1 Flied in USDC ND/OK on 07/15/13 Page 19 of 27

i'iri.

'\[.

W.

r\rlG-?.OGOO 013/03

under any other policy of insurance or to any reinsurer, risk retention group or captive (or any other
self-insurance plan or trust by whatsoever name) or insurance representativel

based upon. arising out of, orin any way involving eny:

i. actuai. aiieged or threatened discharge disposal. migration, dispersal. release or escape of

Poiiutants; or

direction, order or request to test for. monitor. remediate, clean upc remove_ contain. treat,

detoxify. or neutralize Poiiutants. or to pay for or contribute to the costs of undertaking such
actions;

based upon, arising out of. or in any way involving any actual or alleged bodily injury, sicknessl

disease or death of any person, or damage lo or destruction of any tangible property including loss
of use resulting therefrom;

based upon or arising out of any unlawful discrimination by any insuredl

based upon or arising out of any acts and/or services performed by any insured which is not

licensed or certified to perform such acts and/or services if such licensing or certification is required
by law',

based upon or arising out of any conversionl misappropriation, commingling of or defalcation of
funds or property;

based upon or arising oct of any inability or failure of any party to pay cr collect monies or to collect

or pay federall state, county or local tax, tnciuding, but not limited to, income taxl sales tax or
property tax;

based upon or arising out of the: (i} formation, syndication, operation, administration‘
reorganization andror dissolution of any limited partnershtp, limited liability company, limited liability
partnership or Real Estate investment Trust (REiT); or (2) syndication of property;

based upon or arising out of the: (t) preparation of a financial statementl if a compilationl review or

audit; or (2) performance of any analytical analysis for the purpose of preparing a financial
statementl if a compilation, review or audit;

based upon or arising out of the failure to effect or maintainl or to advise of the need to effect cr
maintainl insurance suretyship or bond;

based upon or arising out of Linauthorized Accsss to the insureds Eiectronio Comrnunications
Syster'ri;

based upon or arising out of a violation or alleged violation of the Securitles Act of 1933, Securities
E:<change Act of 1934, investment Company Act of 1940, any state blue sky or securities law or

similar state or federal statute or any amendments thereto, or any reguiation cr order issued
pursuant to any of the foregoing statutes;

i. for the cost oi recalll recoveryl shipment, correction or reprinting caused by a defect orinjurious
condition in any advertisement or the cost ot any services in connection therewith;

2. based upon or arising out of a mistake in advertised price or incorrect description of any article
or commodity', alleged faise, misleading or deceptive advertising or misrepresentation in
advertising or products or services advertised by the insured or others; or

3.

based upon or arising out of games of chance or any other gaming or contests including lottery
or sweepsiai<as;

based upon or arising out of the periormance of professional services with respect to ina
management of assets under a discretionary or nondiscretionary contractl whether written or oral;

based upon or arising out of acts andros services as an insurance agent, insurance broken
investment adviser, Financiai F'lanner, iavryer, accountant‘ registered representative or
brokerldealar ci securities or commoditiesl mortgage banker, mortgage brokerl investment hansen

'Page 5

Case 4:13-Cv-OO425-P.]C Document 3-1 Fiied in USDC ND/OK on 07/15/13 Page 20 of 27

independent third party escrow agent, construction adviserl architectl property developer or real
estate agent or broker; or

' Y. based upon or arising out of the testing of weids, weld codification or the testing of structural sieei.

TERRiTO RY

The insurance afforded by this policy applies wortdwide. provided the G|airn is made in the United States
of America, its territories or possessions Puerto Rlco or Canada.

LiilliiTS'CiF LiAEiLiTY
A_ i_imit of L.isbiiity - Each Ciaim: The total liability of the Cornpany for the combined total ot
Damages and Ciairn Expenses for each Claim first made against the insured during the Poiicy

Period or the Extended Reporting Period, if exercisedl shall not exceed the Limit of Liabillty stated
in item S_A. cf the Deciarations as applicable to Each Ciairn.

l_imit of Liabitity - Policy Aggregate: Subject to the above Limits of t_iabiiity i-"i.l the total liability
of the Company shall riot exceed the Poilcy Agoregate i.imii of Liabiilty stated in item B.B. of the
Deciarations for atl Damages and Ciaim Expenses arising out of ali Ciairns first made against the
insured during the Policy Penod and the E>rtended Reporting F'eriod. if exercised

Deductibie: The Deductible amount stated in item 6. of the Deciarations shall be paid by the

i*~lamed insured and shall be applicable to each Ciairn and shall include Darnages and C.lairn
Expenses, whether or not Darnages payments are made

Such amounts shalll upon written demand by the C;ompany, be paid by the learned insured within
ten {10) days. The total payments requested from the i'~lamed insured in respect cf each Ciaim shall
not exceed the Deductibie amount stated in item 6, of the Deciarations. The determination of the

Cornpariy as to the reasonableness of the Ciairn Expenses shall be conclusive orr the iiamed
insured.

irluitipie lnsureds, Claims and Ciairnants: The inclusion herein of more than one insured in any
Ciaim or the making of Ciairns by more than one person or organization shall not operate to
increase the i_tmits of Liabi|ity stated in item 5. of the Deciarations. tviore than one Ciairn arising out
of a single Wrongfui Act or Personai injury or a series of related Wrongiui Acis or Personai injuries
shall be considered a single Ciaim. Aii such Ciairns. whenever made. shall be treated as a single
Ciaim. Such single Ciairnl whenever made, shall be deemed to be hrst made on the date on which
the earliest Clairn arising out of such Wrongfu| Act or Personat injury is made or with regard to
notice given to and accepted by the Cornpany pursuant to Seciion Ciaims B., Discovery Ciause. on

the date within the Policy Period on which such notice of potential Ciaim is first received by the
Company.

DEFENSE, SE`i'i'i_EiiriENTS .l`-\ND CLAliiil EXPENSES

A_ Defense, investigation and Settiernent ot Ciaims:

i. Tl're Company shall have the right and duty to defend and investigate any Ciairn to which

coverage under this policy applies pursuant to the followier provisions

(a) C|airrr Expenses incurred in defending and investigating such Ciaim shall be a pan of and
shall not be in addition to the Lirnits of i_iatii|ity stated in item 5. of the Deciarations_ Such
Ciaim Expenses shall reduce the Limiis of Liatiiiity and shall be applied against the
Deductii)ie. The Cornpany shall have no obligation to pay any Darnages or to defend or
continue to defend any Ciaim or to pay Ciaim Expenses after the L.irriits of Liai'_)iiity stated in
item 5. or' the Declarations have been exhausted by payment{s) of Darnages and/or Ciairn
Expenses.

(b} T’ne Cornpany shall select defense counsei; provided however_ that if the law of the state of the

r\larned insureds -:ior‘nici|el stated in item 2. Of the Deciaraiions_ allows ihe insured to control the

selection of defense counsel where a conflict of interest has arisen bettyeen the insured and the
i'_`.ompany. the Ccrnparty will provide a §ist of attorneys or law Hrms from which the insured may

i\riG~ZOOCU 03/08 Page 6

Case 4:13-Cv-OO425-P.]C Document 3-1 Fiied in USDC ND/OK on 07/15/13 Page 21 of 27

designate defense counsel who shall act solely in the interest of the lnsured. and the insured shall
direct such defense counsel to cooperate with the Company. Such cooperation shall inciude:

(l) providing on a regular basis, but not less frequently than every three (3] months, written
reports on claimed Damages, potential iiability. progress oi any litigationl any settlement
demands1 or any investigation developments that materially affect the Ciaim;

(ii) providing any other reasonable information requested;
hii} fully itemized billing on a periodic basis; and
(iv) cooperating with the Company and the insured in resolving any discrepancies

and the fees and costs incurred by such defense counsei, including those fees and costs
generated by cooperation with the Company. as set forth above. shall be included in Ciaim
E;<penses. Such Ctalm Expenses shall be a part ct and shall not be in addition to the Lin'itts of
l.iabiilty stated in item 5. of the Deciarations. Such C|aim Expenses shall reduce the i_imits of
l_iabiiity and shall be applied against the Deductibie.

Consen't to Settlernent: `|'he Company shall not settle any Ciaim without the priorwriiten consent of lite
iirst Narned insured. but the Ccmpany shall have, at all iimes. the right to recommend a settlement of any
Ciaim_ lt the first Named insured shall refuse to settle such Ciaim pursuant to the Corhpanys
recommendations then the Company‘s liability in regard to such Claim shall not exceed the amount for
which the Ciaim could have been settled and the amount of any Ciairn Expenses incuned up lo the date of

the first Named insureds refusal to settle the Claim. Such amounts are subject to the provisions of the
Section i_irnits of Llability A. and B.

CLAllliiS

A.

i\riG-QOUOD D`BIGB

Clairn Reportlng Provision: it is a condition precedent to coverage afforded by this policy that the
insured shall give to the Cornpany written notice as stated in item i2. oi the Deciaratiorrs as soon as
practicable of any Ciairn hrst made against the insured during the Poiicy Period or the Extended
Reportjng Pen`cd, if exercised in any event. such Ciairn must be reported to Nlarkei Servicel
incorporated Ten Parltway NorthJ tl`)eerfieid1 illinois4 shotsJ on behalf of the Company, within sixty
{60) days after the end of the Po|ioy Pedod orthe Extended Reporting Period, if exercised

in the event a suit is brought against the insuredl the lnsured shall immediately forward to hiarkel
Service, incorporatedl Ten Part<way l\lorthl Deerheidl illinoisl EOrTiiE>1 on t:iehahe of the Company,

every demand, noticel summons or other process received by him/her or by hls!her
representatives

Discovery Clause: if during the Poiicy Period, the insured nrst becomes aware of a specific
Wrongfui Act or a Personai injury which is reasonably expected to result in a Clairn within the scope
of coverage of this policyl then the insured may provide written notice as stated in item 12. of the
Declarations lo the Cornpany containing the information listed below if such written notice is received
by the C.ompany during the Poiicy Period, then any Clairn subsequently made against the insured
arising out of such Wrongiui ncr or ‘Personai injury shall be deemed for the purpose of this insurance
to have been nrsi made on the date on which such written notice is received by the Company.

lt is a condition precedent to the coverage afforded by this Discovery Ciause that written notice be
given to the Company containing the following information:

i. the description of the specific Wrongfui Act or Personai injury;

2 the date on which such Wrongfui .i‘\ct or Personal injury took piace'.

3_ the injury or damage which has or may result from such Wrongfui e.ct or Personai tnjury;

4 the identity of any injured persons andfor organization subject to such injury or damage; and
5_

the circumstances by which the insured first became aware of such lrvrongful Ac'r or F‘ersonal
injury_

Sutiieci lo the paragraph hereinabove if during tire Poiicy F’eriod the insured provides such written
notice of a specific Wrongfui Act or Persona| injury which is reasonably expected to result in a

F'age 7

Case 4:13-cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 22 of 27

Claim within the scope of coverage of this poiicy\ the Company at its sote option. may investigate
such specinc Wrongful Act or Persona! injury Such matter shall be subject to ali terme. conditions
and provisions in this policy as applicable to a Claim.

Assistance and Cooperation of the insured: The insured shall cooperate with the Company and
upon the Company’s requestI the insured shail: (ij submit to examination and interview by a
representative of the Gompany, under oath if required; (2) attend hearings[ depositions and triais'l
(3) assist in effecting settlement securing and giving evidence and obtaining the attendance of
witnesses in the conduct of suits; and (-tj give a written statement or statements to the Cornpany's
representatives and meet with such representatives for the purpose of determining coverage and
investigating and/or defending any Ciaim; ali without cost to the Gornpany. The insured shall further
cooperate with the Cornpany and do whatever is necessary to secure and effect any right of
indemniiy. contribution or apportionment which the insured may have

The insured shall not, with respect to any Claim covered under this policyl except at his/her own cost,
make any payment, admit any llabliity, settle any Claims, assume any obilgatlon, agree to arbitration
or any similar means of resolution of any dispute, waive any rights or incur Claim Expenses without
the Company's prior written consent, such consent not to be unreasonably withheldl Any costs and
expenses incurred by the insured prior to the insured giving written notice of the Claim to the
Company shall be borne by the insured and will not constitute satisfaction of the Deductiiole.

Falsa or Frauduient Claims: if any insured shall commit fraud in proffean any <.‘.laiml this
insurance shall become void as to such insured from the date such fraudulent Claim is proffered

EKTENDED REPORTlN('_-`r PERlOD

A.

liriC‘=»EQOGO 03}08

if the blamed insured nonrenews this policy or cancels this policy pursuant to Section Other
Condttions A., or if the Company nonreneva this policy or cancels this policy pursuant to Sectlon
Other Conditions A.. for reasons other than nonpayment of premium or Deductlb|e or non-
compliance with the terms and conditions of this policy, then the t\iamed insured shall have the right
upon payment of an additional premium oaicuiaied at the percentage stated in item ii.`). of the
Declarations of the adjusted annual premium for the Po[icy Pertod, subject to adjustment as per
Section Other Conclitions H.. Premiurn and audlt. but in no event less than the percentage set forth
in item 10, of the Declaraticns of the annual minimum premium for the pciicy. to extend the
coverage granted under this policy for the period of months stated in item iCi. of the Ceclaration. as
elected by the r\iamed insuredl to apply to'.

1. Claims first made against the insured during the period of months as eiected. and reported to

the Company pursuant to Section Cialms A.. Claim Reporting Pr‘ovision, following
immediately upon the effective date of such cancellation or nonrenew&l. lOf aii‘! WfOi‘iQfU| AC‘<
or Personal injury which happened on or after the Retroactive Date stated in item 7. of the

Dec|arailons and prior to the effective date of such cancellation or nonrenewal and which is
otherwise covered by this poiicy;

Discipiinary Prooeedings first initiated against the insured during the period of months as
elected, and reported to the Cornpany pursuant to Section Supplementary Payrnents A..
Discipiinary Proceeding, following immediately upon the effective date of such cancellation or
nonrenewai, for any vilrongfui Act which happened on or after the Retroactive Oaie stated in

item 7. of the Deciarations and prior to the effective date of such cancellation or nonrenewal
and which is otherwise covered by this poiicy.

T`nls extended period of coverage as elected by the blamed insured and described in this paragraph
shall be referred to in this policy as the Extended Reporting i:’eriod.

lf, however. this policy is immediately succeeded by similar claims made insurance coverage on
which the Retroactive Date is the same as or earlier than that stated in item ?. of the Dectarations,
the succeeding insurance shaft be deemed to be a renewal hereof and, in consequence the
Named insured shall have no right to purchase an Extendeo' Reporting Period.

Page 8

Case 4:13-cv-OO425-P.]C Document 3-1 Fiied in USDC ND/OK on 07/15/13 Page 23 of 27

The quotation of a different premium andior Deduciibie andior Lirnit of l.iabiiity for renewal does not
constitute a cancellation or refusal to renew for the purpose of this provision

As a condition precedent io the right to purchase the E><tended Reporting i=‘ei"iod1 the Named
insured must have paid: iii ali Deductibies when due; (2) ali premiums due for the Poiicy Period',
and (3) ali premium and deductibie(s) due on any other poitcy{ies) issued by the Company or any of
its affiliated companies in an uninterrupted series of policies of which this policy is a renewal or
replacemeni. The right to purchase the Extended Reporting Period shall tenninaie unless a written
notice as stated in item 12. of the Deciarations of such election for the Extended Reporting Period
is received by the Company within thirty (30) days after the effective date of cancellation or
nonrenewal together with payment of the additional deposit premium for the Extended Reporting
Period. if such written notice of request and payment of additional premium for the Extended

Reporting Period are not so received by the Company1 there shall be no n'ght to purchase the
E.xtended Reporting Period at a later date

The Named insured shall pay any additional premium that may be due as a result of audit, promptly
when due.

in the event of the purchase of the Extended Reporiing Period the entire premium therefor shall be
fully earned at its commencement

i'i`l

T'ne Extended Reporting Period shall not in any way increase the Limits of Lia'oiiity stated in item 5_
of the Deciarations.

OTHER CONDiTiO NS

A. Canceiiation: This policy may be cancelled by the blamed insured on behalf of ali insureds by

mailing to the Company written notice as stated in item 12. of the Deciarations stating when
thereafter such cancellation shall be eifactive. il cancelled by the i\larned insured, the earned
premium shall be computed at the customasy short rate, Payment or tender of unearned premium

shall not be a condition precedent to the effectiveness of cancellation, but such payment shall be
made as soon as practicablel

`i'his policy may be cancelled by the Company or by its underwriting manager, on behalf of the
Cor'npanyl by mailing to the Named insuredl at the address stated in item 2. of the il>eciarationsL
written notice stating when, not less than thirty (30} days thereafter, such cancellation shall be
effective However, if the Company cancels the policy because the i\iamed insured has relied to pay
a premium andior Deductibie when due, including premium andi'or deductibie{s) due on any other
policy(ies) issued `oy the Company or any of its affiliated companies in an uninterrupted series of
policies of which this policy is a renewal or replacement this policy may be cancelled by the
Company or by its underwriting manager[ on behalf of the Company, by mailing a written notice of
cancellation to the blamed insured stating whenr not less than ten {10) days thereafter. such
cancellation shall be effective The mailing oi notice as aforementioned shall be sufficient notice
and the effective date of cancellation stated in the notice shall become the end of the l'-’oiicy F'eriod.
Such notice shall be conclusive on ali insureds Deiivery of such written notice by the blamed
insured, the Cornpany or its underwriting manager shall be equivalent to mailing if canoeiied by the
Company or its underwriting manager, earned premium shall ’oe computed pro rata. Fremium
adjustment may be made at the time cancellation is effected or as soon as practicable thereafter.

Representations: Eiy acceptance of this poiicy, the insureds agree as foilows:

i. thai the information and statements contained in the application(s) are the basis of this policy

and are to be considered as incorporated into and constituting a part of this poiicy; and

that the information and statements contained in the application(s) are their representationsl
that they shall he deemed material to the acceptance of the n'si< or hazard assumed by the

Com_oany under this poiicy. and that this policy is issued in reliance upon the truth of such
representations

MG-?.E]OUG D.'!»IGS P.=.tge 9

Case 4:13-cv-OO425-P.]C Document 3-1 Fiied in USDC ND/OK on 07/15/13 Page 24 of 27

goods1 operations and/cr premises but the Cornpany assumes no responsibility or duty by reason
of such inspection or the omission ihereor'. the insured agrees to provide appropriate personnel to
assist the Cornpany's representatives during such inspection without cost to the Ccmpany.

Action Against the Company‘. t\lo action shall lie against the Company unlessI as a condition
precedent thereto. the insured shaii have fuiiy complied with ali or' the terms and conditions cf this
policy, nor until the amount of the insured's obligation to pay shall have been fully and finally

determined either by judgment against the insured after actual trial or by written agreement of the
insured, the claimant and the Company.

Nothing contained in this policy shall give any person or organization any right to join the Company
as a codefendant in any action against the insured to determine the insured‘s iiability. Bant<ruptcy

or insolvency of the insured or of the insureds estate shall not reiieve the Company ci any of its
obligations hereunder.

Authorization: By acceptance ci this policyl the first person or organization named in item i. of
the Decieraiioris shall act on behalf or` ali insureds with respect to the giving and receiving of all
notices to and from the Company as provided hei'ein: the exercising ci the Ei<tended Reporting
Period; the cancellation of this policy in whole or part; the payment when due of premiums and
Deductibies; the receiving of any return premiums that may become due under this pcilcy; and the
insureds agree that such person or organization shall act on their behalt.

Service of Suit: Except with respect to any policy issued in any state in which the Cornpany is iloerisecl as
an admitted insurer to transact businessl it is agreed that in the event of the failure of the Conipany to pay
any amount claimed to be due hereunder, the Gompany, at the request of the Named lnsured, will submit
to the jurisdiction of a court of competent jurisdiction w‘dhin the Un'rted States and wilt comply with atl
requirements necessary to give such court jurisdiction and ali matters arising hereunder shall co
determined in accordance with the law and practice of such court. Nothing in this clause constitutes or'
should be understood to constitute a waiver or' the Company‘s rights to commence an action in any court of
competent jurisdiction in the l_lnited States, to remove an action to a United States District Couit, or to seek
a transfer ct a case to another court as permitted by the laws of the Uniied States or of any state in the
United States. it is further agreed that service of process in such suit may be made upon Secretary. Legai
Department. Niari<el ivlidwest, Ten Padovay i\lorth, Deemeldl illinois 60015 and that in any.stiit instituted
against the Company upon this policyl the Company will abide by the trial decision of such court or of any
appellate court in the event of an appeai.

Fuither. pursuant to`any statute of any state, territoryl or district of the L.lnited States which makes
provision therefor, the Company hereby designates the Superintendent. Gommissioner. or Dlrector
of insurance or other crucial speciheci for that purpose iii the statutel or hislher successor or
successors in office, as its true and lawful attorney upon whom may be served any lawful process
iii any HCliOFi. Suif OF DFOCEEdiHQ instituted by or on behalf of the Named insured or any beneficiary
hereunder arising out of this policyl and hereby designates the abnve~named as the person to
whom the said officer is authorized to mail such process or a true copy thereof

|i\l WlTi\tESB WHEREOF, the Company has caused this policy to be signed by its President and

Secretary, but this policy shall not be valid unless countersigned on the Deciarations by a duly authorized
representative of the Company.

Ki/f?f/ZZM,L ¢th/i/<.a viiiL</i st Q./:>i/h.» /QJ€/wq,@ @J£Z@a~ah_.?

SBCFEW‘/ Prasic!ent

t\¢li"-ZOOI'JO 03!03 Page l l

Case 4:13-cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 25 of 27

NUCLEAR ENERG‘{ |_iAElLlTY'
EXCLUSEON [BROAD FGRM)

This exclusion modifies t'ne provisions of this policy.
it is agreed that‘.
t. This policy does not appiy:

A. Llnder any Liabitity Coverage, to bodily injury or property damage

(i) with respect to which an insured under this policy is also an insured under a nuclear energy
liability policy issued by Nuciear Energy l.iability insurance Assoctation_ i~riutuat Atornic Energy
Liability Underwriters or Nuciear insurance association of Canada, or would be an insured
under any such policy cut for its termination upon exhaustion or‘ its limit of tiabiiity; cr

(2

-._r

resulting from the hazardous properties of nuclear material and with respect to which (a) any
person or organization is required to maintain nnanoial protection pursuant to tile Ator'ntc
Energy Act of 1954\ or any law amendatory thereofl cr (b) the insured is\ or had this policy not
been issued would be, entitled to indemnity trorn the Un`rted States of Arnerlca, or any agency

thereof under any agreement entered into by the United States of Amen`ca. or any agency
thereof, with any person or organization

Under any Niedical F‘ayments Coverage, or any Supplementary F'aymerrts provision relating to first
aid, to expenses incurred with respect to bodily injury resulting trorn the hazardous properties of
nuclear material and arising out of the operation of a nuclear facility by any person or organization

Under any Liabiiity Coverage, to bodily injury or property damage resulting from the hazardous
properties of nuclear materiai, lt

(l) the nuclear material (a) is at any nuclear facility owned by, or operated by or on behalf of, an
insured or (b) has been discharged or dispersed lhereirom'.

(2) the nuclear material is contained in spent fuel or waste at any time possessed handled used,
processed., stored. transported or disposed of by or on behalf of an lnsored; or

(3) the bodily injury or property damage arises out of the furnishing by an insured of services
materialsl parts or equipment in connection with the ptanning. constructionl maintenancel
operation or use of any nuclear facility, but if such facility is located within the United States of
Arrrerica, its territories or possessions or Canada, this exclusion (3] applies only to property
damage to such nuclear facility and any property thereatl

2. As used in this exclusion:
"haz_ardous properties" include radioactivel toxic or explosive properties;
"nuciear matarial" means source materiai_ special nuclear material or toy-product materiai;

"source material". "spectai nuclear materia|", and "by-pr'cduct materiai" have the meanings given them in
the Atomic Energy Act ot 1954 or in any law amendatory thereofl

"spent fue|" means any fuel element or fuel componentl solid or |iquid, which has been used or exposed
to radiation in a nuclear reactor;

"waste" means any waste material {i) containing by»prcduct material and (2) resulting from the
operation by any person or organization of any nuclear facility within the definition of nuclear iaciiiiy
under paragraph (a) or (b) thereon
"nuciear facility" means
(a) any nuclear reactor,
(‘o) any equipment or device designed or used for (l} separating the lsotopes ct uranium or
ptuionium, (2) processing or utilizing spent iuel, cr (3) handling processing or packaging waste

(c) any equipment or device used for the processing fabricating or ailoying of special nuclear ~
material it at any time the total amount of such material in the custody of the insured at the
premises where such equipment or device is located consists of cr contains more than 25

ile-?GOGO 03!08 '°’

Case 4:13-Cv-OO425-P.]C Document 3-1 Filed in USDC ND/OK on 07/15/13 Page 26 of 27

grams of plutonium or uranium 233 or any combination thereof. or more than 250 grams of
uranium 235.

(d) any siructure, basin. excavation premises or place prepared or used fortna storage or disposal
of waata.

and includes the site on which any of the foregoing is locatad. ali operations conducted on such site and
all premises‘used for such operations;

“nuclear reactor" means any apparatus designed or used to sustain nuclear lissinn in a self-supporting
chain reaction or to contain a critical mass of nssiona tile material;

"PFDFEF*.‘J damag 9" includes all forms of radioactive contamination of property

t\rlG-EGOGO 03!|]3 Page 13

= `r._

Case 4:_13-€\_/-00425-_P.]C _Document'$-l Fileol in US[_)C |_\lD/OK on 07/15/13 Page 27 0_'1§_:_:;‘,7

. .:::r}; .

 

...,_

Hinitl:nn
_.FS:G~

wc__n<§ ,..

 

m_rmzzmrr> v comm
UOMU ._l>e< OTl_u~Omm
r>zmaz,m mcm_zmmm n>mx
amc mbm.ml ;>_»m_._>_._..
._.crm). ex E:om

 

 

aaa

.EE Z_ nran mmn_=w.w
memw Hm€ E_.E, E.LFO

3 w Zo_.E Im~.<_ww ><m:c@
OEEEBm §§ OHA d H am

 

 

:__Z_€_E§,_§§§W:_::§__:__:,_:

  

ETQ.J~

wamm¢_q.= "..

 

